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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         BREONNA RICHARD,
                                   7                                                         Case No. 20-cv-04276-JSC (JCS)
                                                        Plaintiff.
                                   8
                                                   v.                                        NOTICE OF SETTLEMENT
                                   9                                                         CONFERENCE AND SETTLEMENT
                                         CITY AND COUNTY OF SAN                              CONFERENCE ORDER
                                  10     FRANCISCO,
                                  11                    Defendant.

                                  12   TO ALL PARTIES AND COUNSEL OF RECORD:
Northern District of California
 United States District Court




                                  13          The above matter was referred to Chief Magistrate Judge Joseph C. Spero for settlement

                                  14   purposes.

                                  15          You are hereby notified that a Settlement Conference is scheduled for January 18, 2022,

                                  16   at 10:00 a.m., by Zoom videoconference.

                                  17          It is the responsibility of counsel to ensure that whatever discovery is needed for all sides

                                  18   to evaluate the case for settlement purposes is completed by the date of the Settlement Conference.

                                  19   Counsel shall cooperate in providing discovery informally and expeditiously.

                                  20          Lead trial counsel shall appear at the Settlement Conference with the parties. Any party

                                  21   who is not a natural person shall be represented by the person(s) with unlimited authority to

                                  22   negotiate a settlement. A person who needs to call another person not present before agreeing to

                                  23   any settlement does not have full authority. If a party is a governmental entity, its governing body

                                  24   shall designate one of its members or a senior executive to appear at the Settlement Conference

                                  25   with authority to participate in the Settlement Conference and, if a tentative settlement agreement

                                  26   is reached, to recommend the agreement to the governmental entity for its approval. An insured

                                  27   party shall appear with a representative of the carrier with full authority to negotiate up to the

                                  28   limits of coverage. Personal attendance of a party representative will rarely be excused by the
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                                   1   Court, and then only upon separate written application demonstrating substantial hardship served

                                   2   on opposing counsel and lodged as early as the basis for the hardship is known but no later than

                                   3   the Settlement Conference Statement.

                                   4            Each party shall prepare a Settlement Conference Statement no later than seven (7)

                                   5   days prior to the conference (DO NOT electronically file on ECF).

                                   6            Each party shall submit their Settlement Conference Statement in .pdf format and

                                   7   emailed to JCSsettlement@cand.uscourts.gov . Please do not submit paper copies.

                                   8            One (1) week prior to the scheduled Settlement Conference counsel shall pre-register

                                   9   for the Settlement Conference by submitting one joint email to the clerk at

                                  10   JCSSettlement@cand.uscourts.gov with the names of counsel, and client representative(s).

                                  11            On the day of the Settlement Conference the parties shall connect to the Zoom

                                  12   Meeting at the following address:
Northern District of California
 United States District Court




                                       https://cand.uscourts.zoomgov.com/j/1616644640?pwd=cElJZ0g3dDJqcWNSb1pnSDNmanV0Q
                                  13
                                       T09. The Zoom Meeting Link is located on Judge Spero’s web page under the second
                                  14
                                       subheading +Join Non-Public Hearings. In addition to following the instructions and link on
                                  15
                                       Judge Spero’s web page, the parties may join using the following Zoom Meeting ID: 161 664
                                  16
                                       4640. Password: 841312. A link to the Court’s video conferencing meeting is also located on
                                  17
                                       the Court’s website at https://www.cand.uscourts.gov/judges/spero-joseph-c-jcs/
                                  18
                                       Parties will initially enter a “waiting room” and will be admitted into the meeting by court
                                  19
                                       staff.
                                  20
                                                The Settlement Conference Statement need not be served on opposing counsel. The
                                  21
                                       parties are encouraged, however, to exchange Settlement Conference Statements. If Settlement
                                  22
                                       Conference Statements are exchanged, any party may submit an additional confidential settlement
                                  23
                                       letter to the Court not to exceed three (3) pages. The contents of this confidential settlement letter
                                  24
                                       will not be disclosed to the other parties.
                                  25
                                                The Settlement Conference Statement shall not exceed ten (10) pages of text and twenty
                                  26
                                       (20) pages of exhibits and shall include the following:
                                  27
                                                1.     A brief statement of the facts of the case.
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                                           Case 3:20-cv-04276-JSC Document 46 Filed 10/05/21 Page 3 of 4




                                   1          2.      A brief statement of the claims and defenses including, but not limited to, statutory

                                   2                  or other grounds upon which the claims are founded, and a candid evaluation of

                                   3                  the parties' likelihood of prevailing on the claims and defenses. The more candid

                                   4                  the parties are, the more productive the conference will be.

                                   5          3.      A list of the key facts in dispute and a brief statement of the specific evidence
                                                      relevant to a determination of those facts.
                                   6
                                              4.      A summary of the proceedings to date and any pending motions.
                                   7
                                              5.      An estimate of the cost and time to be expended for further discovery, pretrial and
                                   8
                                                      trial.
                                   9
                                              6.      The relief sought, including an itemization of damages.
                                  10
                                              7.      The party's position on settlement, including present demands and offers and a
                                  11
                                                      history of past settlement discussions. The Court's time can best be used to assist
                                  12
Northern District of California




                                                      the parties in completing their negotiations, not in starting them. Accordingly,
 United States District Court




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                                                      Plaintiff(s) must serve a demand in writing no later than fourteen (14) days before
                                  14
                                                      the conference and Defendant(s) must respond in writing no later than eight (8)
                                  15
                                                      days before the conference. The parties are urged to carefully evaluate their case
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                                                      before taking a settlement position since extreme positions hinder the settlement
                                  17                  process.
                                  18          It is not unusual for the conference to last three (3) or more hours. Parties are encouraged
                                  19   to participate and frankly discuss their case. Statements they make during the conference will not
                                  20   be admissible at trial in the event the case does not settle. The parties should be prepared to
                                  21   discuss such issues as:
                                  22          1.      Their settlement objectives.
                                  23          2.      Any impediments to settlement they perceive.
                                  24          3.      Whether they have enough information to discuss settlement. If not, what
                                  25                  additional information is needed?
                                  26          4.      The possibility of a creative resolution of the dispute.
                                  27          The parties shall notify Chambers immediately at (415) 522-3691 if this case settles prior
                                  28   to the date set for Settlement Conference. Counsel shall provide a copy of this order to each party
                                                                                          3
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                                   1   who will participate in the conference.

                                   2          IT IS SO ORDERED.

                                   3   Dated: October 5, 2021

                                   4                                             ______________________________________
                                                                                 JOSEPH C. SPERO
                                   5                                             United States Chief Magistrate Judge
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Northern District of California
 United States District Court




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